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                                                         '   UNITED STATES DISTRICT COURT
                                                             DISTRICT OF UTAH
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